Case 18-52363-jwc             Doc 59   Filed 02/01/19 Entered 02/01/19 10:44:00    Desc Main
                                       Document      Page 1 of 3

                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION


IN RE:                                           :      CHAPTER 13
MILLARD COURTNEY FARMER, JR                      :
                                                 :      CASE NO. A18-52363-JWC
                  DEBTOR                         :


                    NOTICE RESCHEDULING CONFIRMATION HEARING

       Notice is hereby given that the Confirmation Hearing in the above-referenced Chapter
13 case has been rescheduled and shall take place:

AT:               Richard B. Russell Federal Building
                  75 Ted Turner Drive, S.W.
                  Courtroom – 1203
                  Atlanta, GA 30303

ON:               March 12, 2019
AT:               10:00 a.m.


                                               Respectfully submitted,


                                               __/s/____________________________
                                               Julie M. Anania,
                                               Attorney for Chapter 13 Trustee
                                               GA Bar Number 477064
                                               Suite 120
                                               303 Peachtree Center Avenue
                                               Atlanta, GA 30303
                                               (678) 992-1201


/drc




Nancy J. Whaley
Standing Chapter 13 Trustee
SunTrust Garden Plaza, Suite 120
303 Peachtree Center Avenue
Atlanta, GA 30303
(678) 992-1201
Case 18-52363-jwc             Doc 59    Filed 02/01/19 Entered 02/01/19 10:44:00   Desc Main
                                        Document      Page 2 of 3

                                       CERTIFICATE OF SERVICE

Case Number A18-52363-JWC

This is to certify that I have this day served:

Debtor:
Millard Courtney Farmer, Jr.
1196 Dekalb Ave
Atlanta, GA 30307

                         (ALL CREDITORS LISTED ON MAILING MATRIX)

in the foregoing matter with a copy of this “Notice Rescheduling Confirmation Hearing” by
depositing in the United States Mail a copy of the same in a properly addressed envelope with
adequate postage thereon.



         THIS THE 1st day of February, 2019.


/s/
Julie M. Anania,
Attorney for Chapter 13 Trustee
GA Bar Number 477064
Suite 120
303 Peachtree Center Avenue
Atlanta, GA 30303
(678) 992-1201




Nancy J. Whaley
Standing Chapter 13 Trustee
SunTrust Garden Plaza, Suite 120
303 Peachtree Center Avenue
Atlanta, GA 30303
(678) 992-1201
Label Matrix forCase     18-52363-jwc
                  local noticing        Doc 59    Filed
                                             City of      02/01/19 Entered 02/01/19 10:44:00
                                                     Atlanta                         Dekalb County Desc    Main
                                                                                                   Tax Commissioner
113E-1                                            Document
                                             Office of Revenue    Page 3 of 3        4380 Memorial Drive, Suite 100
Case 18-52363-jwc                             55 Trinity Ave, Suite 1350                  Decatur, GA 30032-1239
Northern District of Georgia                  Atlanta, GA 30303-3534
Atlanta
Thu Jan 31 10:47:03 EST 2019
John H. Murphy                                John Harold Murphy                          LVNV Funding, LLC its successors and assigns
c/o Maloy Jenkins Parker                      Kilpatrick Townsend & Stockton LLP          assignee of Citibank, N.A.
1360 Peachtree Street NE                      Attn: Colin M. Bernardino, Esq.             Resurgent Capital Services
Suite 910                                     1100 Peachtree St. NE, Suite 2800           PO Box 10587
Atlanta, GA 30309-3287                        Atlanta, GA 30309-4530                      Greenville, SC 29603-0587

Nan Freeman                                   Resurgent Capital Services                  End of Label Matrix
c/o Ken Gordon                                P.O. Box 10587                              Mailable recipients      7
PO Box 1088                                   Greenville, SC 29603-0587                   Bypassed recipients      0
Lagrange, GA 30241-0020                                                                   Total                    7
